                                                                                      FILED
                                                                                      CLERK
 1                                                                             2/19/2021 12:10 pm
 1
 2                                                                                U.S. DISTRICT COURT
 2                                                                           EASTERN DISTRICT OF NEW YORK
 3                                                                                LONG ISLAND OFFICE
 3
                                UNITED STATES DISTRICT COURT
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 4
                                EASTERN DISTRICT OF NEW YORK
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 6
 7 JORGE NIETO, individually and on behalf of               Case No: 2:21-cv-00680
 7 others similarly situated
 8
 8                                    Plaintiff,
 9                                                   NOTICE OF VOLUNTARY DISMISSAL OF
 9                                                          ACTION WITHOUT PREJUDICE
                        -v-
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10 PROJECT VISUAL INTERNATIONAL INC
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15         NOW, THEREFORE, Plaintiff JORGE NIETO hereby dismiss this action without
16
16 prejudice pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i).
17
17 Dated: February 18, 2021                       STILLMAN LEGAL, P.C.
18
18
19                                                  ~s~
19
20                                                Attorneys for Plaintiff,
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21     The Clerk of Court is directed to close this case. SO ORDERED this 19th day of February
22     2021 in Central Islip, New York.
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23                                                    /s/ JOANNA SEYBERT
24                                                    U.S. District Judge, EDNY
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                  NOTICE OF VOLUNTARY DISMISSAL OF ACTION WITHOUT PREJUDICE;
